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                                   STATEMENT OF FACTS

        Your affiant, Christopher McMaster, is a Special Agent assigned to Federal Bureau of
Investigation’s (FBI) Charlotte Field Office. Currently, I am a tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Subsequent to the incident at the U.S. Capitol, the FBI began soliciting information and
tips concerning violence at the Capitol on the FBI’s website. An anonymous tipster submitted a
report that identified JOHNNY HARRIS as someone who was posting pictures of himself inside
of the U.S. Capitol building on his Facebook page. HARRIS was interviewed by FBI agents on
January 19, 2021. During that interview, he admitted to entering the U.S. Capitol building on
January 6, 2021, with a megaphone and flag. He also stated that he recorded videos inside the U.S.
Capitol with his GoPro device. During a subsequent discussion, HARRIS also stated that he
recorded some footage on a cell phone.

        Your affiant has collected and reviewed video provided by the Metropolitan Police
Department of the District of Columbia and U.S. Capitol Police, which includes body camera and
security camera footage from inside of the U.S. Capitol Building. While reviewing this footage,
your affiant observed an individual who appears to be HARRIS inside of the U.S. Capitol on
January 6, 2021, specifically inside of the Rotunda and in a hallway just outside of the Rotunda.
The following images are a sampling of screenshots obtained from that footage. HARRIS is circled
in red.




                                      Figure One
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                      Figure Two




                      Figure Three
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                                      Figure Four

       Your affiant interviewed Witness One and Witness Two, who both travelled to the United
States Capitol Region with HARRIS and saw HARRIS on January 6, 2021. Witness One and
Witness Two were shown screenshots of an individual matching HARRIS’s description inside the
U.S. Capitol building, to include Figure Three and Figure Four above. Witness One and Witness
Two identified the individual in the screenshots as HARRIS.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
JOHNNY HARRIS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
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        Your affiant submits there is also probable cause to believe that JOHNNY HARRIS
violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      CHRISTOPHER MCMASTER
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 17th day of March 2021.
                                                                     2021.03.17
                                                                     18:38:06 -04'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
